                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

      v.                                             Case No. 12-CR-88

MOHAMMED MAZHARUDDIN
             Defendant.


                                         ORDER

      Defendant having entered into a payment agreement with the Financial Litigation Unit,

and for the reasons stated in the court’s November 2, 2015 Order,

      IT IS ORDERED that defendant’s motion for early termination of probation (R. 304) is

GRANTED.

      Dated at Milwaukee, Wisconsin, this 9th day of November, 2015.

                                       /s Lynn Adelman
                                       LYNN ADELMAN
                                       District Judge




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